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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

  IN RE: PARAGARD IUD
                                                      MDL DOCKET NO.2974
  PRODUCTS LIABILITY
                                                      (1:20-md-02974-LMM)
  LITIGATION

  This document Relates to:
  MAGDELYN SOSA

                    Plaintiff.

       Case No.: 1:22-cv-02614-LMM

                PLAINTIFF’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE


       Plaintiff, Magdelyn Sosa, by and through the undersigned counsel, respectively respond to
the Court’s Show Cause Order dated December 30, 2024 as follows:
       After this Court entered the Show Cause Order undersigned counsel performed a diligent
search for notice of PFS deficiencies from Defendant. Since the date of submission of the initial
PFS on October 31, 2022, neither Plaintiff directly, nor her Counsel has received a PFS deficiency
notice from Defendant. On January 8, 2025, Plaintiff’s counsel emailed Defendant requesting notice
of deficiencies. Although Plaintiff remains unaware of the alleged deficiency, on January 9, 2025,
Plaintiff submitted new PFS authorizations to the MDL Portal in an attempt to cure potential
deficiencies.
       Plaintiff requests that this case not be dismissed as she has attempted to comply with all
obligations under the various PFS CMOs and Plaintiff has not received notice of any deficiencies.
In the event Plaintiff receives a notice of deficiency from Defendants, the Plaintiff requests 15 days
to cure such deficiencies.

         THIS the 10th day of January 2025.
                                               Respectfully Submitted,

                                               s/ Hunter V. Linville
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